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APPENDIX IV
TAB L
 

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York Dispatch, The (PA)

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Section: LOCAL NEWS

Greup: Dover achools could face lawsuit
Says it's a textbook case of church, state separation
Authot: HEIDI] BERNHARD-BURB For The York Dispatch

Article Text:

‘Fhe quest of several Dover Area School Board members to find a high schoal biology textbook that
teaches both evolution and creationisra could put the district at odds with the U.S. Supreme Court and at
risk of a lawsnit.

. William Buckingham, a board member and head of the ewriculum committee, anid this week he was
disturbed by a proposed high school biology textbook, the 2002 edition of Prentice Hall Biology,
because it was laced with Darwinism.

Board member Noe] Wench agreed.

The book was initisity selected by the high school science department and district administration to
replace the current textbook, which is six years old and out of date in some areas.

A recommendation on the book will come from the curticulam committee, which aiso includes board

members Sheila Harkins and Casey Brown. Buckingham said the committee would look for a book that
_ presented both creationism and evolution.

However, teaching creationism may get the district in trouble.

Robert Boston, spokesman for Ameticans United for Separation of Church and State, said the district
will be inviting a lawsuit if tt chooses a textbook that teaches creationism.

"Creationism isn't a science, it’s religion, and any attempts to introduce creationism inte public school
science classes would most likely spark a lawsuit," Boston said, "The district would almost certainly
lose a lawsuil like that. It's not even worth wasting the time and energy to consider.”

The Washington, D.C.-based group is leading the charge in Hanover to remove a monument to the Ten
Commandments from the borough-owned Wirt Park.

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Americans United sent a letter to the borough council in November, saying the monument violates the
First Amendment and asking that it be removed from public land, where it hes been since the 1950s.

The letter sparked strong public response, as residents signed petitions and held a vigil asking the
borough not ta move the nenument.

At the suggestion of State Rep. Steve Nickel, the council petitioned the York County Common Pleas
Court for permission to sell the monument and the land on which it sits to a nonprofit organization, so
that it wail no longer be on public property. Judge Gregory Snyder will hear Hanover's arguments at #
am. Monday.

Previous cases: In 1987, the US. Supreme Court rejected the teaching of creationism in public school as
a violation of the separation of church and state.

But Buckingham said he is unconcerned about violating the separation of church and state.

Although he swore 10 uphold the Constinition when he became a school board member, Buckingham
said he didn't come to uphold the separation of church and state, which he sees as a myth and the
Supreme Court's interpretation.

Adso, the Pennsylvania Department of Education high school science standards require the teaching of
evolution.

Assistant Superintendent Micha] Baksa said the cwrent textbook, called Biology: The Living Sctence,
and the school's science cwricuhum teach evolution.

"We do not address the origins of life,” he said, “The origin of life is left to the personal beliets of each
farpily.”

However, he said teachers may make reference to creationism in class and the district would not prevent
students from pursuing other theories.

The district has not rejected the proposed new textbook, Baksa said, but it will-continue to look for a
book that will make everyone happy.

However, fe acknowledged that at the end of the day, the book has to match state standards, which
would meen a book that teaches evolution.

The other curriculum committee merabers stayed away from the creationism issue.

Brown declined to comment, saying she will be making a public statement on the issue at the next board
meeting, at 7 p.m. Monday at North Salem Elementary.

Harkins said she didn't think the high school needed a pew science textbook, saying the current one has
hardly been used, She would not comment on creationism .

The schoo} board will have the fmal say on which textbook to use, said Superintendent Richard
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